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6                 UNITED STATES DISTRICT COURT
7                EASTERN DISTRICT OF CALIFORNIA
8                                              Case No.: 2:20-cv-00564-JAM-JDP
     James I. McMillan,
9                                              [PROPOSED] ORDER ON
                   Plaintiff,                  PLAINTIFF’S APPLICATION TO
10                                             EXTEND THE DATE TO FILE
                       vs.                     MOTION FOR
11                                             RECONSIDERATION OF
     County of Shasta, City of Anderson,       DISMISSALS FROM NOVEMBER
12   Anderson Fire Protection District,        10, 2021 TO NOVEMBER 24, 2021.
     Fire Chief Steve Lowe, Anderson
13   Police Officer Kameron Lee, et al.
                                               Judge: Hon. John A. Mendez.
14                 Defendants.
                                               Trial Date: None Set
15
16                                         ORDER
17          Based upon Plaintiff’s motion/application to extend the date to file a motion
18   for reconsideration of dismissals from November 10, 2021, to November 24, 2021,
19   AND GOOD CAUSE APPEARING THEREFORE:                     IT IS SO ORDERED:
20         The Court GRANTS the motion/application by Plaintiff for an order
21   extending the filing date of his motion for reconsideration of dismissals from
22   November 10, 2021 to November 24, 2021
23         .
     Dated:
24
25                                   THE HONORABLE JOHN A. MENDEZ
26                                   UNITED STATES DISTRICT COURT JUDGE
27
28
                 ORDER ON PLAINTIFF’S APPLICATION TO EXTEND THE DATE
                  TO FILE MOTION FOR RECONSIDERATION OF DISMISSALS
